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4
5                        IN THE UNITED STATES DISTRICT COURT
6
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
7
8                                                          No. CR 05-00651 CW
     UNITED STATES OF AMERICA,
9                                                          ORDER FOR PRETRIAL
                Plaintiff,                                 PREPARATION FOR
10                                                         CRIMINAL
         v.                                                JURY TRIAL
11
     JOHN MORGAN,
12
                Defendant.
13                                           /
14
15
          Good cause appearing, it is hereby ordered that:
16
          1.   TRIAL DATE
17
                a. Jury trial will begin on October 10, 2006, at 8:30 A.M.,
18
     in Courtroom 2, 4th Floor, 1301 Clay Street, Oakland, California.
19
                b.   The length of trial will be not more than 5 days.
20
          2.   DISCOVERY
21
                Both sides will comply with the Federal Rules of Criminal
22
     Procedure, Crim. L.R. 16-1, and the United States will comply with
23
     Brady v. Maryland, 373 U.S. 83 (1963) and United States v. Agurs 427
24
     U.S. 97 (1976).
25
          3.   MOTIONS
26
                Pretrial motions have been filed by Defendant. Plaintiff’s
27
     opposition to the pretrial motions will be due June 5, 2006, and any
28
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1    reply will be due June 12, 2006; thereafter, the motions will be
2    deemed submitted on the papers.
3         4.   PRETRIAL CONFERENCE
4               a.   A pretrial conference will be held on Monday, September
5    25, 2006, at 2:30 p.m., in Courtroom 2.          It shall be attended by the
6    attorneys who will try the case.
7               b. Not less than one week prior to the pretrial conference,
8    counsel shall comply with Crim. L.R. 17-1(b).
9               c. Jury instructions §1.1 through §1.12, §3.1 through §3.10
10   and §7.1 through §7.6 from the Manual of Model Jury Instructions for
11   the Ninth Circuit (2000) will be given absent objection.                     Counsel
12   shall jointly submit one set of additional proposed jury instructions,
13   ordered in a logical sequence, together with a table of contents,
14   using the Ninth Circuit Manual where possible, or Devitt and Blackmar
15   or CALJIC, not less than one week prior to the pretrial conference.
16   Any instructions on which counsel cannot agree shall be marked as
17   "disputed,"     and   shall   be   included   within   the     jointly     submitted
18   instructions and accompanying table of contents, in the place where
19   the party proposing the instruction believes it should be given.
20   Argument and authority for and against each disputed instruction shall
21   be included as part of the joint submission, on separate sheets
22   directly following the disputed instruction.               Counsel for the United
23   States shall submit a verdict form.           The attached voir dire will be
24   given to the venire members. Counsel should submit an agreed upon set
25   of additional requested voir dire questions to be posed by the Court.
26   Any voir dire questions on which counsel cannot agree shall be
27   submitted separately.         Counsel will be allowed brief follow-up voir
28   dire after the Court's questioning.           Any motions in limine should be
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1    noticed for hearing at the pretrial conference in accordance with
2    Criminal Local Rule 47-2.
3         5.    JURY SELECTION
4               The Jury Commissioner will summon 35 to 40 prospective
5    jurors.   The Courtroom Deputy will select their names at random and
6    seat them in the courtroom in the order in which their names are
7    called.
8         Voir dire will be asked of sufficient venire persons so that
9    twelve (plus a sufficient number for alternates) will remain after all
10   peremptory challenges and an anticipated number of hardship dismissals
11   and cause challenges have been made.
12        The Court will then take cause challenges, and discuss hardship
13   claims from the individual jurors, outside the presence of the venire.
14   The Court will inform the attorneys which hardship claims and cause
15   challenges will be granted, but will not announce those dismissals
16   until the process is completed.         Peremptory challenges will be made
17   in writing and passed between counsel in accordance with Crim. L.R.
18   24-2 and 24-3.    The Court will strike the persons with meritorious
19   hardships, those excused for cause, and those challenged peremptorily,
20   and call the first twelve people (plus alternates) in numerical
21   sequence remaining.      Those people will be the jury.
22
23   Dated: 5/24/06
24
                                                  CLAUDIA WILKEN
25                                                United States District Judge
26
27
28
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1                               JUROR QUESTIONNAIRE
2
     Please fill out this form as completely as possible and print clearly.
3    Since we want to make copies for the attorneys and the Court, do not
     write on the back of any page. If you need more room, continue at the
4    bottom of the page. Thank you for your cooperation.
5
     1.    Your name: ________________________________________________
6
     2.    Your age: _________________________________________________
7
     3.    The City where you live:___________________________________
8
     ________________________________________________________________
9
     4.    Your place of birth: ______________________________________
10
     5.    Do you rent or own your own home? _________________________
11
     6.    Your marital status: (circle one)
12
           single   married     separated      divorced        widowed
13
     7.    What is your occupation, and how long have you worked in
14         it? (If you are retired, please describe your main
           occupation when you were working).
15
     _______________________________________________________________
16
     _______________________________________________________________
17
     8.    Who is (or was) your employer?
18
     _______________________________________________________________
19
     9.    How long have you worked for this employer? ______________
20
     10.   Please list the occupations of any adults with whom you
21         live.
22   _______________________________________________________________
23   11.   If you have children, please list their ages and sex and,
           if they are employed, please give their occupations.
24
     _______________________________________________________________
25
     _______________________________________________________________
26
     _______________________________________________________________
27
     _______________________________________________________________
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1    12.   Please describe your educational background:
2          Highest grade completed: _________________________________
3          College and/or vocational schools you have attended:
4    _______________________________________________________________
5    _______________________________________________________________
6    _______________________________________________________________
7    _______________________________________________________________
8          Major areas of study:_____________________________________
9    13.   Have you ever served on a jury? ________           No. of
10         times?________
11         If yes:   State/County Court _______       Federal Court _______
12         When? ____________________________________________________
13         Was it a civil or criminal case? _________________________
14   _______________________________________________________________
15   _______________________________________________________________
16         Did any of the juries reach a verdict? ___________________
17
18   (Rev. 3/03)
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